Case 2:05-cr-20242-.]PI\/| Document 4 Filed 07/13/05 Page 1 of 2 Page|D 6

UNITED STATES DISTRICT COURT

FoR THE Hl_,,_;D S~,¢ @%W>'__D.C.
wEsTERN DISTRICT oF TENNESSEE

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UNITED STATES OF AMERICA H{MA§§QQJD _T

cR. No. 05 -2 . D!_:>Thtb? CQUR
]m. Me.sFH=S

'VS.

GENO BROWNLEE

'\_/V\_¢\_¢v\.»¢

APPLICATION ORDER and WRIT FOR HABEAS CORPUS AD PROSE UENDUM

 

The United States Attorney's Office applies to the Court for a Writ
to have GENO BROWNLEE¢ DOB: 05[01[1972l RNI; 14750 , now being detained
in the Criminal Juetice Center, 201 Poplar Ave., Memphis, TN, appear
before the Honorable Diane K. Veecovo on Monday, July 18th,r 2005 @ 2:00
p.m. for Initial Appearance and for such other appearances as this Court
may direct.

Respectfully submitted this L§§h day of July, 2005.

MM

STEPHEN P. HALL
Assistant U. S. Attorney

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Upon consideration of the foregoing Application, DAvn)JommY, U.S.
MARSHAL, WESTERN DISTRICT or TENNESSEE, MEMPHIS,'TN., SHERIFF/WIRRBN, SHELBY CouNTY
CRIMINAL JUsTIcE CENTER, MEMPHIS, TNZ
YOUR ARE HEREBY COMMANDED to have GENO BROWNLEE DOB: 05 01 1972
§NI: 147505, appear before the Honorable Diane K. Vescovo at the date and
time aforementioned.

714
ENTERED this fig day of July, 2005.

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UNITED STATES MAGISTRATE JUDGE

This document entered on the docket sheet in compliance
with me 55 ana/or 32(»;») FRCrP on 7 '/6/"

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CR-20242 Was distributed by faX, mail, or direct printing on
July ]4, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

